Case 3:22-cv-00294-HTW-LGI                            Document 151-16                    Filed 08/11/23          Page 1 of 2
                                                                                                                       EXHIBIT 16


        NMS                                                   NMS Labs
                                                200 Welsh Road, Horsham, PA 19044-2208
                                               Phone: (215) 657-4900 Fax: (215) 657-2972
                                                        e-mail: nms@nmslabs.com
                                                                                                            CONFIDENTIAL



                                    Robert A. Middleburg, PhD, F-ABFT, DABCC-TC, Laboratory Director


Toxicology Report                                                          Patient Name        RUSSELL, JEREMY
                                                                           Patient ID          ME21-0981
Report Issued       10/27/2021 16:06
                                                                           Chain               NMSCP141187
                                                                           Age Not Given       DOB Not Given
 To:        151242                                                         Gender              Not Given
            MS Medical Examiner Office - Gulf Coast Lab                    Workorder           21359648
            215 Allen Stuart Drive

            Pearl, MS 39208                                                Page 1 of 2




 Positive Findings:

                                                                  None Detected



       See Detailed Findings section for additional Information

 Testing Requested:
       Analysis Code                            Description
       80836                                    Postmortem, Basic w/ Vitreous Alcohol and 6-MAM Confirmation, Blood
                                                (Forensic)

 Specimens Received:
       ID    Tube/Container               Volume/       Collection                Matrix Source           Labeled As
                                          Mass          Date/Time
       001 Gray Top Tube                   9 mL         10/12/2021                Subolavlan Blood        ME21-0981
       002 Gray Top Tube                   8.8 mL       10/12/2021                Subclavlan Blood        [0E21-0981
       003 Red Top Tube                    3.75 mL      10/11/2021                Vitreous Fluid          ME21-0981

       All sample volumes/weights are approximations.
       Specimens received on 10/14/2021.




                                                                                                                       NMS v.22.0




                                                                                                                       MTC 000043
Case 3:22-cv-00294-HTW-LGI                         Document 151-16                   Filed 08/11/23             Page 2 of 2




        NMS
                                     CONFIDENTIAL               Workorder            21359648
Ai\
                                                                Chain                NMSCP141187
                                                                Patient ID           ME21-0981

                                                                Page 2 of 2


 Detailed Findings:
  Examination of the specimen(s) submitted did not reveal any positive findings of toxicological significance by
  procedures outlined in the accompanying Analysis Summary.

 Sample Comments:
  001       Physician/Pathologist Name: TURNER, STACI, M.D.
  001       County: LAUDERDALE
  001       Autopsy ID: ME21-0981

  Unless alternate arrangements are made by you, the remainder of the submitted specimens will be discarded one (1) year
  from the date of this report; and generated data will be discarded five (5) years from the date the analyses were
  performed.
                                                                            Workorder 21359648 was electronically
                                                                            signed on 10/27/2021 15:17 by:



                                                                            Jolene J. Bierly, M.S.F.S., D-ABFT-FT
                                                                            Forensic Toxicologist

Analysis Summary and Reporting Limits:
All of the following tests were performed for this case. For each test, the compounds listed were Included in the scope. The
Reporting Limit listed for each compound represents (he lowest concentration of the compound that will be reported as being
positive. If the compound Is listed as None Detected, it is not present above the Reporting Limit. Please refer to the Positive
Findings section of the report for those compounds that were identified as being present.

  Acode 8083B - Postmortem, Basic w/ Vitreous Alcohol and 6-MAM Confirmation, Blood (Forensic) - Subclavlan Blood

      -Analysis by Enzyme-Linked Immunosorbent Assay (ELISA) for:
        Compound                             Rot, Limit                Compound                               Rpt. Limit
        Amphetamines                         20 ng/mL                  Fentanyl /Acetyl Fentanyl              0.50 ng/mL
        Barbiturates                         0.040 mcg/mL              Methadone / Metabolite                 25 ng/mL
        Benzodiazepines                      100 ng/mL                 Methamphetamine / MDMA                 20 ng/mL
        Buprenorphlne / Metabolite           0.50 ng/mL                Opiates                                20 rig/mL
        Cannabinoids                         10 ng/mL                  Oxycodone / Oxymorphone                10 ng/mL
        Cocaine / Metabolites                20 ng/mL                  Phencyclidine                          10 ng/mL

      -Analysis by Headspace Gas Chromatography (GC) for:
        Compound                             Rpt Limit                 Compound                               Rpt. Limit
        Acetone                              5.0 mg/dL                 lsopropanol                            5.0 mg/dL
        Ethanol                              10 mg/dL                  Methanol                               5.0 mg/dL




                                                                                                                        NMS v.22.0




                                                                                                                       MTC 000044
